     Case 4:21-cv-11350-MFL-CI ECF No. 7, PageID.91 Filed 09/29/21 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

GENERAL MEDICINE, P.C.,

        Plaintiff,                                             Case No. 21-cv-11350
                                                               Hon. Matthew F. Leitman
v.

SECRETARY OF DEPARTMENT OF
HEALTH AND HUMAN SERVICES,

     Defendant.
__________________________________________________________________/

             ORDER TO ATTEND TELEPHONIC SCHEDULING
           CONFERENCE AND NOTICE OF REQUIREMENTS FOR
                 SUBMISSION OF DISCOVERY PLAN

        The parties are hereby directed to appear by Telephonic Conference before

Judge Matthew F. Leitman for a Case Management and Scheduling Conference (the

“Conference”) on Wednesday, October 27, 2021, at 10:00 a.m.

        Please use the following call-in information to join the call:

        Call-In #: 215.446.3649
        Access Code: 8390969

        The purpose of this Conference is to make the Court aware of the issues

involved, to discuss the possibility of settlement, and to establish appropriate case

management dates. Prior to the Conference, counsel shall meet and confer in order

to prepare a Joint Case Management Report/Discovery Plan (the “Plan”) in

accordance with Federal Rule of Civil Procedure 26(f). The Plan shall follow the

                                             1
  Case 4:21-cv-11350-MFL-CI ECF No. 7, PageID.92 Filed 09/29/21 Page 2 of 4




format and address the Agenda Items listed below. The Plan must be filed with

the Court no later than five (5) business days before the Conference. If any party

is proceeding without counsel, separate Plans may be filed.            Following the

Conference, the Court will enter its own Case Management and Scheduling Order.

      The following Agenda Items are to be individually addressed in the written

Plan under separate headings:

            1.      Related Cases: Identify any pending related cases or
      previously adjudicated related cases.

             2.      Jurisdiction: Explain the basis of the Court’s subject-matter
      jurisdiction over the Plaintiff’s claims and Defendant’s counter-claims.
      Plaintiff should also identify any pendent state law claims. If any Defendants
      remain unserved, explain the plan to complete service.

            3.      Factual Summary: Provide a brief description of the nature
      of the action and a brief summary of Plaintiff’s claims and Defendant’s
      defenses. Identify the core, dispositive factual issues.

            4.     Legal Issues: Identify the legal issues genuinely in dispute.
      Also identify any dispositive or partially dispositive issues appropriate for
      decision by motion.

           5.    Amendment of Pleadings:             Identify any anticipated
      amendments of pleadings to add or delete claims, defenses, or parties.

            6.      Discovery: (a) Summarize the discovery each party intends
      to pursue, including expert witnesses, the reasonable time needed for
      completion, and any anticipated disputes; (b) Explain the arrangements for
      exchanging initial disclosures required by Fed. R. Civ. 26(a)(1); (c) Indicate
      whether any changes should be made in the limitations on discovery
      imposed by the Federal and Local Rules; and (d) address whether there is
      a need to enter a protective order or a confidentiality order pursuant to Federal
      Rule of Evidence 502(d). Counsel are instructed to commence discovery
      following the meet and confer.

                                          2
  Case 4:21-cv-11350-MFL-CI ECF No. 7, PageID.93 Filed 09/29/21 Page 3 of 4




              7.     Electronic Discovery: Explain the parties’ plan for dealing
      with electronic discovery and whether implementation of this District’s
      Model Order Relating to the Discovery of Electronically Stored
      Information is warranted. The parties are also encouraged to consult this
      District’s Checklist for Rule 26(f) Meet and Confer Regarding Electronically
      Stored Information, attached to the Model Order linked to above. At the very
      least, the parties should discuss and address (a) the ESI to be preserved; (b)
      the form in which any ESI will be produced (i.e., native format, PDF,
      paper, etc.); (c) whether to limit discovery of ESI to particular sources
      or custodians, at least as an initial matter; and (d) search terms or methods to
      be used to identify responsive materials.

            8.       Settlement: Explain the prospects for settlement and whether
      the parties are interested in Case Evaluation (see Local Rule 16.3) or other
      methods of alternate dispute resolution. Identify the discovery that would
      be most helpful in evaluating likelihood of settlement.

             9.       Consent: Indicate whether the parties consent to the
      jurisdiction of a United States Magistrate Judge to conduct all proceedings in
      this civil action (including a jury or non-jury trial) and to order the entry of a
      final judgment, as provided in 28 U.S.C. § 636(c) and Federal Rule of Civil
      Procedure 73.

             10.   Trial: Identify whether this will be a jury or bench trial and
      the estimated length of trial. Also identify when each side can be ready for
      trial.

            11.      Miscellaneous: Identify any other matters any party wishes
      to address at the Scheduling Conference.

      In the event that the parties cannot reach an agreement on any provision of the

Plan, the parties shall include in the relevant provision of the Plan a brief statement

containing each of the parties’ respective positions.




                                          3
  Case 4:21-cv-11350-MFL-CI ECF No. 7, PageID.94 Filed 09/29/21 Page 4 of 4




      Counsel should appear for the scheduling conference and be prepared to

address these Agenda Items.

      IT IS SO ORDERED.

                                     s/Matthew F. Leitman
                                     MATTHEW F. LEITMAN
                                     UNITED STATES DISTRICT JUDGE

Dated: September 29, 2021


I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on September 29, 2021, by electronic means and/or
ordinary mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (810) 341-9764




                                        4
